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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

  SECURITIES AND EXCHANGE
  COMMISSION,
                                                             21 Civ. 5350 (PKC)
                             Plaintiff,

                -against-

  RICHARD XIA, a/k/a YI XIA; and
  FLEET NEW YORK METROPOLITAN REGIONAL
  CENTER, LLC, f/k/a FEDERAL NEW YORK
  METROPOLITAN REGIONAL CENTER, LLC;

                             Defendants,

                -and-

  JULIA YUE, a/k/a JIQING YUE,

                             Relief Defendant.




                      ORDER APPROVING THE MONITOR’S
                  MOTION FOR APPROVAL OF RELEASE OF FUNDS
                    FOR PAYMENT OF REAL PROPERTY TAXES

       Upon the Motion for Approval of Release of Funds for Payment of Real Property Taxes

(the “Motion”) of M. Scott Peeler, Court-appointed monitor (the “Monitor”), for entry of an order,

(i) authorizing Emerald Creek Capital 3, LLC (“Emerald Creek”) to immediately release escrowed

funds from its Reserve Account, deposited in furtherance of the August 31, 2021 Loan Agreement

between Emerald Creek and X&Y Development Group (“X&Y”), in the amount of $557,344.72

to the New York City Department of Finance (“NYC Department of Finance”) for the payment of

property taxes on the property located at 42-31 Union Street, Queens, New York, 11355, which

are due on January 1, 2022 (“2022 Mirage Property Taxes Due”), (the “Loan Agreement”),

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(ii) directing Defendants X&Y to pay real property taxes on the Mirage Property in the amount of

$172,576.72, which were due on January 1, 2021, together with interest in the amount of

$28,858.09, and real property taxes that were due on July 1, 2021, in the amount of $557,344.72

with interest in the amount of $37,741.63, for a total payment of $796,521.16 (“2021 Mirage Back

Taxes”), first from all funds held in the X&Y Development Group LLC account ending in 5097

and the remainder of taxes to be paid from Defendants’ Eastern Emerald Group LLC account

ending in 0808 or another Xia Entity account if additional funds are needed, within three (3) days

of this Order, and (iii) directing Defendant Xia to have Eastern Emerald Group, LCC (“Eastern

Emerald”) or other Xia Entity pay the real property taxes due on the Emerald Property in the

amount of $309,146.54 (“2022 Emerald Property Taxes”), with funds from the Eastern Emerald

Group LLC account ending in 0808 or another Xia Entity account if additional funds are needed,

within three (3) days of this Order.

       NOW, THEREFORE, based upon the Motion and all of the proceedings before this

Court, and after due deliberation and sufficient cause appearing therefor, and no objection to the

Application having been raised, it is hereby:

       ORDERED that the Monitor’s Motion authorizing Emerald Creek to immediately release

escrowed funds from its Reserve Account in the amount of $557,344.72 to pay to the NYC

Department of Finance the 2022 Mirage Property Taxes is granted in its entirety; and it is further

       ORDERED that the Monitor’s Motion directing Defendants to have X&Y pay to the NYC

Department of Finance the sum of $796,521.16 to satisfy the 2021 Mirage Back Taxes, first with

all funds held in the X&Y Development Group LLC account ending in 5097 and to then satisfy

the balance of the 2021 Mirage Back Taxes with funds paid from Defendants’ Eastern Emerald




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Group LLC account ending in 0808 or from another Xia Entity account within three (3) days of

this Order; and it is further

        ORDERED that the Monitor’s Motion that Defendant Xia Defendant be directed to have

Eastern Emerald or other Xia Entity pay the 2022 Emerald Property Taxes in the amount of

$309,146.54 to the NYC Department of Finance with funds from the Eastern Emerald Group LLC

account ending in 0808 within three (3) days of this Order; and it is further

        ORDERED that CTBC shall release, solely for the purpose of paying real property taxes

to the NYC Department of Finance, (i) funds from Defendant’s Eastern Emerald Group LLC

account ending in 0808 for $432,098.86, the combined amount of the 2022 Emerald Property

Taxes and 2021 Mirage Property Back Taxes, and (ii) funds from Defendant’s X&Y Development

Group LLC account in 5097 for $673,568.84.

        ORDERED that Defendants and Emerald Creek shall provide documentary proof of the

foregoing payments, as applicable, to the Court, SEC, and the Monitor within five (5) days of

making such payment(s), is granted in its entirety.

        ORDERED that the Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order.

        SO ORDERED, this 3 day of January, 2022.



                                                           /s/ Pamela K. Chen
                                                           Pamela K. Chen
                                                           United States District Court Judge




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